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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


DENNIS MONTGOMERY, et al


                  Plaintiffs,
v.

JAMES COMEY, et al

                   Defendants.                                            Case No: 17-cv-1074




                  PLAINTIFFS’ MOTION FOR STATUS CONFERENCE
       Plaintiffs Dennis Montgomery and Larry Klayman (“Plaintiffs”) hereby move this Court

for a status conference to be held between Tuesday, January 16th and Friday, January 19th, 2018.

At this Court’s request, Plaintiffs agreed to forego its right to pursue a temporary restraining

order on the condition that this Court rule expeditiously on their motion for a preliminary

injunction. Plaintiffs’ motion has now been pending for nearly seven (7) months, and meanwhile

Defendants are still breaking the law, as evidenced during Congress’ ongoing debate about

renewal of Section 702 of the Foreign Intelligence Surveillance Act, in light of its documented

violations concerning the unmasking of American citizens without probable cause, as just one

unconstitutional example! Plaintiffs have been illegally and unconstitutionally surveilled as part

of a pattern and practice of deceit and lying to this Court, Congress, and the Foreign Intelligence

Surveillance Court. These alleged criminal acts extend beyond Section 702, as pled in the

operative Complaint. Plaintiffs have asked for discovery, given the unsubstantiated false denials

of the Defendants which in the past have proven to be lies.

       Plaintiffs are grateful for this Court’s courage in issuing its previous rulings in prior cases


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concerning illegal and unconstitutional government surveillance, but this case should not be

swept under the rug and must be dealt with now, without further delay, as was promised by this

Court seven (7) months ago.

   Dated: January 11, 2018                     Respectfully submitted,

                                               /s/ Larry Klayman
                                               Larry Klayman, Esq.
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                                               Attorney for Plaintiffs


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed
electronically and served through the court’s ECF system to all counsel of record or parties on
January 11, 2018.

                                                   /s/ Larry Klayman
                                                   Larry Klayman, Esq.




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